Case 8:11-cv-00147-JDW-TBM Document 19 Filed 03/09/12 Page 1 of 1 PagelD 60

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
DANNY SCHOONOVER,
Plaintiff,
V. , CASE NO.: 8:11-cv-00147-JDW-TBM
COMMONWEALTH FINANCIAL
SYSTEMS, INC.,
Defendant.

/

 

' ORDER GRANTING STIPULATION TO DISMISS CASE WITH
PREJUDICE

IT IS HEREBY ORDERED that the parties’ joint Stipulation to Dismiss Case with
Prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), is GRANTED.
Accordingly, the above-captioned matter is hereby dismissed with prejudice, each side to bear

their own fees and costs.

IT IS SO ORDERED.

DATED: aot, ?, Lar

 

 

nited States District Judge
